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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :
                                         :
             v.                          :   CRIMINAL NO. 3:23-CR-149
                                         :
DAMIEN BOLAND,                           :
ALFRED ATSUS,                            :
JOSEPH ATSUS AND                         :   JUDGE MANNION
NICHOLAS DOMBEK                          :
                                         :
                   Defendants.           :   ELECTRONICALLY FILED

   JOINT REQUEST FOR PRE-TRIAL DISCLOSURE OF HEARSAY
STATEMENTS PURSUANT TO FED. R. EVID. 807 AS TO DEFENDANTS
     DAMIEN BOLAND, ALFRED ATSUS, AND JOSEPH ATSUS

      Defendants Damien Boland, Alfred Atsus, and Joseph Atsus, by and through

their undersigned counsel, hereby respectfully jointly request from the Government

pre-trial disclosure of any and all possible hearsay statement(s) as a residual

exception to the hearsay rule pursuant to Fed. R. Evid. 807 which the Government

may seek to introduce at trial. See United States v. Pelullo, 964 F.2d 193 (3d Cir.

1992); Crawford v. Washington, 541 U.S. 36, 59 (2004). The defense requests

notice as required under F.R.E. 807(b) which states as follows:

      The disclosure should include the content of the hearsay statement(s), and the

identity and address of the declarant.
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      Pursuant to the instructions of the Court, Defendants have identified this

Request as being of a common interest to them. Defendants have therefore filed this

Request jointly, in an effort to narrow and focus the issues that are pending before

the Court.

                                             Respectfully submitted,

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                                             /s/Matthew L. Clemente
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                                             /s/ Patrick A. Casey
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                                             Attorney for Defendant, Joseph Atsus
Date: July 12, 2024




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                          CERTIFICATE OF SERVICE

      I, Jason J. Mattioli, hereby certify that a true and correct copy of the foregoing

Request for Pre-Trial Disclosure of Hearsay Statements Pursuant to Fed. R. Evid.

807 was served upon the following counsel of record via the Court’s ECF system on

this 12th day of July 2024:

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                                               /s/ Patrick A. Casey
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